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                       EXHIBIT G
                          TO
                     OGLESBY DECL.
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Epiq eDiscovery Solutions - 90296491 for P-2018-0144

TIMEKEEPER SUMMARY                                                                                                   INVOICE TOTALS
Timekeeper Classification             Timekeeper Name        Total Hours        Total Amount         Average Rate
No Data                                                                                                               Fees                   0.00 USD
                                                                                                     Currency: USD    Fee Discount           0.00 USD
                                                                                                                      Expenses             105.31 USD
                                                                                                                      Expense Discount       0.00 USD
                                                                                                                      Taxes                  0.00 USD
                                                                                                                          Total            105.31 USD

                                                                                                                      Fee Adjustment         0.00 USD
                                                                                                                      Expense Adjustment     0.00 USD
                                                                                                                          Net Total        105.31 USD




INVOICE HEADER

 Organization Name                                        Matter Name
 Epiq eDiscovery Solutions - 170272                       Major, Mary vs. SFPP, L.P. - P-2018-0144




 Organization Address
 777 Third Avenue 12 Floor New York, NY 10017 (Primary)

 Invoice Date
 01/08/2019

 Period Start Date                                        Period End Date
 12/01/2018                                               12/31/2018
                                                                                                          Page 2 of 2
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DETAILS
Date          Type      Desc   Task/Expense   Act   TK ID   Hours/Units         Rate   Disc   Adj   Tax     Net Amount
12/31/2018    Expense          E124                         1.00          105.31 USD                       105.31 USD
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Date      Type      Desc                    Task/     Act   TK ID    Hours/   Rate     Disc       Adj   Tax   Net
                                            Expense                  Units                                    Amount
                    documents for use as
                    potential exhibits for
                    same (.7)
12/29/2018 Fee      Conference with B.        L330          140479   1.20     325.00   0.00 USD               390.00
                    Young regarding                                           USD                             USD
                    preparation for Coastal
                    30(b)(6) deposition,
                    with emphasis on
                    documents to be used
                    as potential exh bits
                    (.4); review and analyze
                    Coastal production
                    in connection with
                    identifying same (.8)
12/21/2018 Fee      Review and analyze        L320          140479   5.80     325.00   0.00 USD               1,885.00
                    documents collected                                       USD                             USD
                    from Phoenix Terminal
                    for future production
12/21/2018 Fee      Correspondence with       L190          141349   0.50     150.00   0.00 USD               75.00 USD
                    Teris vendor to revise                                    USD
                    W-9 and EFT forms.
12/12/2018 Fee      Review, process and       L140          141349   0.30     150.00   0.00 USD               45.00 USD
                    calendar Plaintiffs                                       USD
                    Notice of Deposition.
12/14/2018 Fee      Telephone conference L110               141349   0.30     150.00   0.00 USD               45.00 USD
                    and correspondence                                        USD
                    with Stephanie Hall
                    regarding incomplete
                    EFT form and W-9 form.
12/05/2018 Fee      Correspondence with       L110          140479   1.10     325.00   0.00 USD               357.50
                    Kinder Morgan copy                                        USD                             USD
                    vendor regarding
                    status of COP imaged
                    documents (.2);
                    review case file notes
                    in connection with
                    preparing for D.
                    Gilmore interview,
                    with emphasis on
                    terminal facts, including
                    driver training, rack
                    maintenance and repair,
                    and vapor recovery unit
                    (.9)
12/06/2018 Fee      Prepare for and conduct L110            140479   2.20     325.00   0.00 USD               715.00
                    witness interview of D.                                   USD                             USD
                    Gilmore
12/18/2018 Fee      Prepare for and           L120          140479   0.80     325.00   0.00 USD               260.00
                    participate in joint                                      USD                             USD
                    defense call regarding
                    Coastal 30b6
                    deposition, with
                    emphasis on strategies
                    for raising additional
                    topics beyond those
                    noticed by Plaintiffs
                    and status of Coastal
                    subpoena
12/11/2018 Fee      Correspondence with       L320          140479   0.20     325.00   0.00 USD               65.00 USD
                    S. Shelton regarding                                      USD
                    status of COP heritage
                    documents and plans
                    for reviewing same
12/07/2018 Fee      Update discovery and L330               11377    0.30     530.00   0.00 USD               159.00
                    deposition strategy and                                   USD                             USD
                    plan and discussion
                    with co-defense counsel
                    re same
12/06/2018 Fee      Consider and revise       L310          11377    0.30     530.00   0.00 USD               159.00
                    strategic approach                                        USD                             USD
                    to scheduling and
                    discovery
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Date      Type      Desc                         Task/     Act   TK ID    Hours/   Rate     Disc       Adj   Tax   Net
                                                 Expense                  Units                                    Amount
                    Co-Defendant s legal
                    assistant regarding
                    specific document set.
01/29/2019 Fee      Prepare response to          L310            15202    0.70     395.00   0.00 USD               276.50
                    Plaintiffs RFAs                                                USD                             USD
01/31/2019 Fee      Review documents for         L320            15202    2.10     395.00   0.00 USD               829.50
                    production.                                                    USD                             USD
01/30/2019 Fee      Review documents for         L310            15202    2.40     395.00   0.00 USD               948.00
                    potential production                                           USD                             USD
                    and in preparation
                    for responding to
                    Plaintiffs Interrogatories
                    and Requests for
                    Production.
01/29/2019 Fee      Review prior                 L310            15202    2.10     395.00   0.00 USD               829.50
                    disclosures and written                                        USD                             USD
                    discovery in preparation
                    for responding to
                    Plaintiffs discovery.
01/31/2019 Fee      Call with S. Shelton         L320            15202    0.30     395.00   0.00 USD               118.50
                    regarding document                                             USD                             USD
                    collection
01/31/2019 Fee      Prepare notice of non-       L310            15202    0.80     395.00   0.00 USD               316.00
                    party at fault.                                                USD                             USD
01/31/2019 Fee      Prepare draft responses      L310            15202    3.30     395.00   0.00 USD               1,303.50
                    to Plaintiffs discovery                                        USD                             USD
                    requests.
01/29/2019 Fee      Discussion of legal hold     L310            11377    0.50     530.00   0.00 USD               265.00
                    with Matt Oglesby (.2);                                        USD                             USD
                    revise RFA responses
                    and confer with joint-
                    defense group re
                    coordinated responses
                    to same (.3)
01/28/2019 Fee      Monitor progress of          L310            11377    0.40     530.00   0.00 USD               212.00
                    document review                                                USD                             USD
                    and production (.2);
                    conversation with
                    opposing counsel re
                    early mediation among
                    Texas defendants and
                    discuss same with M
                    Oglesby (.2)
01/25/2019 Fee      Confer with defense          L330            11377    0.20     530.00   0.00 USD               106.00
                    group re upcoming                                              USD                             USD
                    depositions and other
                    activities and report
                    same to client
01/15/2019 Fee      Review and process           L140            141349   0.10     150.00   0.00 USD               15.00 USD
                    Defendant Pro                                                  USD
                    Petroleum s Second
                    Uniform and Non-
                    Uniform Interrogatories
                    to Plaintiffs.
01/14/2019 Fee      Review and process           L140            141349   0.30     150.00   0.00 USD               45.00 USD
                    Co-Defendants Second                                           USD
                    Disclosure Statement
                    and Exhibits and
                    Subpoena.
01/25/2019 Fee      Gather discovery             L140            141349   1.30     150.00   0.00 USD               195.00
                    responses from all                                             USD                             USD
                    parties and prepare
                    binder with same for
                    Attorney McMillan s
                    review.
01/24/2019 Fee      Review and process           L140            141349   0.20     150.00   0.00 USD               30.00 USD
                    Plaintiff s Responses                                          USD
                    to ARCO s Requests
                    for Production and
                    Interrogatories.
01/24/2019 Fee      Review and process           L140            141349   0.60     150.00   0.00 USD               90.00 USD
                    Co-Defendant Chevron                                           USD
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Date      Type      Desc                         Task/     Act   TK ID    Hours/   Rate     Disc       Adj   Tax   Net
                                                 Expense                  Units                                    Amount
                    s responses and
                    document production.
01/22/2019 Fee      Review and process           L140            141349   0.50     150.00   0.00 USD               75.00 USD
                    deposition transcript                                          USD
                    and exhibits on 30(b)
                    (6) witness, Barry
                    Detlefsen.
01/24/2019 Fee      Review five (5)              L330            11377    0.30     530.00   0.00 USD               159.00
                    deposition notices                                             USD                             USD
                    and confer with
                    noticing lawyer about
                    thought process
                    and background on
                    witnesses
01/23/2019 Fee      Draft initial responses      L120            11377    0.90     530.00   0.00 USD               477.00
                    to plaintiff s requests                                        USD                             USD
                    for admissions (.7);
                    coordinate defense
                    group efforts on task list
                    (.2)
01/19/2019 Fee      Review CalJet s              L120            11377    0.20     530.00   0.00 USD               106.00
                    amended designation                                            USD                             USD
                    of responsible third
                    parties and confer with
                    core defense group re
                    approach to same
01/18/2019 Fee      Joint-defense call and       L120            11377    1.00     530.00   0.00 USD               530.00
                    follow-up with Coastal                                         USD                             USD
                    Transport s lawyer
                    on subpoena and
                    deposition status
01/17/2019 Fee      Joint defense call with      L110            11377    0.70     530.00   0.00 USD               371.00
                    Kinder Morgan counsel                                          USD                             USD
01/14/2019 Fee      Joint defense call re        L310            11377    1.70     530.00   0.00 USD               901.00
                    experts and resolution                                         USD                             USD
                    with counsel for
                    Chevron (.7); review
                    certain defendant
                    s written discovery
                    requests, plaintiff
                    s written discovery
                    requests, and revise
                    P66 case-specific
                    discovery requests to
                    plaintiff (1.0)
01/14/2019 Fee      Complete review of           L310            15202    3.10     395.00   0.00 USD               1,224.50
                    file and prior discovery                                       USD                             USD
                    requests and responses
                    and prepare additional
                    requests for production,
                    requests for admission,
                    and interrogatories to
                    Plaintiffs.
01/09/2019 Fee      Review and process           L140            141349   0.20     150.00   0.00 USD               30.00 USD
                    Co-Defendant s Notice                                          USD
                    of Substitution of
                    Victoria Dune from
                    Sanders Parks, PC.
01/09/2019 Fee      Review discovery             L310            15202    0.60     395.00   0.00 USD               237.00
                    already production to                                          USD                             USD
                    determine additional
                    discovery needs.
01/09/2019 Fee      Prepare status e-mail        L190            140479   1.10     350.00   0.00 USD               385.00
                    for J. McMillan and                                            USD                             USD
                    team in connection with
                    transitioning matter
01/10/2019 Fee      Follow-up re indemnity       L120            11377    1.40     530.00   0.00 USD               742.00
                    claim (.1); identify                                           USD                             USD
                    poss ble weaknesses
                    in the terminal defense
                    (.2); joint defense call
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Dennis Alan Gilmore - OTHERP20180144 for P-2018-0144
Invoice Header
Organization Name                                        Matter Name
Dennis Alan Gilmore - 181925                             Major, Mary vs. SFPP, L.P. - P-2018-0144
                                                         Matter No
                                                         P-2018-0144
Organization Address
6776 W. Villa Lindo Dr. Peoria, AZ 85383 (Primary)
Invoice Date
06/11/2019
Invoice Start Date                                       Invoice End Date
06/11/2019                                               06/11/2019
Description
CAK - Processed via SAP Doc No. 1200028962 / 01 / 2019




Totals Summary
Fees                                                     Expenses
0.00 USD                                                 3,130.98 USD
Fee Discount                                             Expense Discount
0.00 USD                                                 0.00 USD
Fee Adjustment                                           Expense Adjustment
0.00 USD                                                 0.00 USD
Taxes                                                    Net Total
0.00 USD                                                 3,130.98 USD




Details
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Norton Rose Fulbright-Houston - 9495139340 for P-2018-0144
Invoice Header
Invoice Number
9495139340
Organization Name                                    Matter Name
Norton Rose Fulbright-Houston - 5619                 Major, Mary vs. SFPP, L.P. (Canal Indemnity) - P-2018-0144
                                                     Matter No
                                                     P-2018-0144
Organization Address
1301 MCKINNEY ST. HOUSTON, TX 77010 (LEDES)
Invoice Date
08/20/2019
Invoice Start Date                                   Invoice End Date
06/01/2019                                           07/31/2019
Description
Major, Mary




Totals Summary
Fees                                                 Expenses
32,164.00 USD                                        2,779.33 USD
Fee Discount                                         Expense Discount
0.00 USD                                             0.00 USD
Fee Adjustment                                       Expense Adjustment
0.00 USD                                             0.00 USD
Taxes                                                Net Total
0.00 USD                                             34,943.33 USD
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Norton Rose Fulbright-Houston - 9495147765 for P-2018-0144
Invoice Header
Invoice Number
9495147765
Organization Name                                    Matter Name
Norton Rose Fulbright-Houston - 5619                 Major, Mary vs. SFPP, L.P. (Canal Indemnity) - P-2018-0144
                                                     Matter No
                                                     P-2018-0144
Organization Address
1301 MCKINNEY ST. HOUSTON, TX 77010 (LEDES)
Invoice Date
09/26/2019
Invoice Start Date                                   Invoice End Date
07/01/2019                                           08/31/2019
Description
Major, Mary




Totals Summary
Fees                                                 Expenses
398.50 USD                                           640.84 USD
Fee Discount                                         Expense Discount
0.00 USD                                             0.00 USD
Fee Adjustment                                       Expense Adjustment
0.00 USD                                             (255.84) USD
Taxes                                                Net Total
0.00 USD                                             783.50 USD
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Epiq eDiscovery Solutions - 90378639 for P-2018-0144
Invoice Header
Invoice Number
90378639
Organization Name                                        Matter Name
Epiq eDiscovery Solutions - 170272                       Major, Mary vs. SFPP, L.P. (Canal Indemnity) - P-2018-0144
                                                         Matter No
                                                         P-2018-0144
Organization Address
777 Third Avenue 12 Floor New York, NY 10017 (Primary)
Invoice Date
10/08/2019
Invoice Start Date                                       Invoice End Date
09/01/2019                                               09/30/2019
Description
PGM




Totals Summary
Fees                                                     Expenses
0.00 USD                                                 285.18 USD
Fee Discount                                             Expense Discount
0.00 USD                                                 0.00 USD
Fee Adjustment                                           Expense Adjustment
0.00 USD                                                 0.00 USD
Taxes                                                    Net Total
0.00 USD                                                 285.18 USD
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Norton Rose Fulbright-Houston - 9495150895 for P-2018-0144
Invoice Header
Invoice Number
9495150895
Organization Name                                    Matter Name
Norton Rose Fulbright-Houston - 5619                 Major, Mary vs. SFPP, L.P. (Canal Indemnity) - P-2018-0144
                                                     Matter No
                                                     P-2018-0144
Organization Address
1301 MCKINNEY ST. HOUSTON, TX 77010 (LEDES)
Invoice Date
10/14/2019
Invoice Start Date                                   Invoice End Date
09/01/2019                                           09/30/2019
Description
Major, Mary




Totals Summary
Fees                                                 Expenses
337.50 USD                                           10.61 USD
Fee Discount                                         Expense Discount
0.00 USD                                             0.00 USD
Fee Adjustment                                       Expense Adjustment
0.00 USD                                             0.00 USD
Taxes                                                Net Total
0.00 USD                                             348.11 USD
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